 [NOT FOR PUBLICATION--NOT TO BE CITED AS PRECEDENT]
            United States Court of Appeals
                For the First Circuit

No. 98-1289

                    STEVEN A. SWAN,

                 Plaintiff, Appellant,

                           v.

                    DOROTHEA CLEARY,
               INTERNAL REVENUE SERVICE,

                  Defendant, Appellee.
                                      

No. 98-1387
                   STEVEN A. SWAN,

                Plaintiff, Appellant,

                          v.

                   GARY SUNDSTROM,
              INTERNAL REVENUE SERVICE,

                 Defendant, Appellee.

    APPEALS FROM THE UNITED STATES DISTRICT COURT

              DISTRICT OF NEW HAMPSHIRE

 [Hon. Joseph A. DiClerico, Jr., U.S. District Judge]
   [Hon. Steven J. McAuliffe, U.S. District Judge]

                        Before

                 Selya, Circuit Judge,
           Campbell, Senior Circuit Judge,
              and Lynch, Circuit Judge.

Steven A. Swan on brief pro se.
Loretta C. Argrett, Assistant Attorney General, Ann B. Durney,
Attorney, Tax Division, Department of Justice, and Murray S.
Horwitz, Attorney, Tax Division, Department of Justice, on brief
for appellees.

AUGUST 20, 1998

Per Curiam.  We have carefully reviewed the briefs and record
on appeal and affirm the judgments below.  The collection efforts
that the appellant attributes to the revenue agents did not
manifest any intentional or reckless disregard for provisions of
the Internal Revenue Code.  Moreover, the appellant's general
attacks on the validity of the Internal Revenue Code or the income
tax are not cognizable under 26  U.S.C.  7433.  Gonsalves v.
I.R.S., 975 F.2d 13, 16 (1st Cir. 1992).  Accordingly, the cases
were properly dismissed for failure to state claims under 26 
U.S.C.  7433.
Affirmed.  Loc. R. 27.1.

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